          CASE 0:22-cr-00159-WMW-TNL Doc. 22 Filed 08/25/22 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    United States of America,                        Case No. 22-cr-159 (WMW/TNL)

                        Plaintiff,

    v.                                                  ARRAIGNMENT NOTICE
                                                                &
    Shamir Nathann Black,                                     ORDER

                        Defendant.


         This matter comes before the Court on the parties’ Joint Motion for Extension of

Time to File Motions, ECF No. 19, and Defendant Shamir Nathann Black’s Motion to

Exclude Time Under Speedy Trial Act, ECF No. 20. Defendant has also filed a Statement

of Facts in Support of Motion to Exclude Time Under Speedy Trial Act, ECF No. 21. The

parties “anticipate resolving the case but need additional time to finalize the written plea

agreement.” ECF No. 19 at 1. The parties seek an extension of 14 days.

         Additionally, beginning on March 13, 2020, and continuing thereafter, the Chief

District Judge for the United States District Court for the District of Minnesota, has issued

a series of General Orders in connection with the COVID-19 pandemic, addressing, among

other things, criminal proceedings and trials. 1 On June 1, 2022, the Chief Judge entered

General Order No. 36, which allows limited in-person proceedings for defendants who

decline to consent to conducting the proceeding using videoconferencing, or telephone



1
   All General Orders related to the COVID-19 pandemic may be found on the Court’s website at
https://www.mnd.uscourts.gov/coronavirus-covid-19-guidance.

                                             1
         CASE 0:22-cr-00159-WMW-TNL Doc. 22 Filed 08/25/22 Page 2 of 5




conferencing if videoconferencing is not reasonably available. See generally In re:

Updated Guidance to Court Operations Under the Exigent Circumstances Created by

COVID-19, Gen. Order No. 36 (D. Minn. June 1, 2022). General Order No. 36 states that

because only limited in-person proceedings may be held each day, criminal proceedings

may be continued until the date that the criminal proceeding takes place.

        General Order No. 36 continues to encourage the use of videoconferencing in

criminal proceedings and states that, with the defendant’s consent, criminal proceedings

will be conducted by videoconferencing, or telephone conferencing if videoconferencing

is not reasonably available. 2 General Order No. 36 further provides that the presiding judge

will enter orders in individual cases to extend deadlines and exclude time under the Speedy

Trial Act to address delays attributable to COVID-19. Accordingly, should Defendant

file pretrial motions, counsel shall also file a letter indicating whether Defendant

consents to a motions hearing by videoconference. See also ECF No. 16.

        Pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice served by

granting a continuance outweigh the best interests of the public and Defendant in a speedy

trial and such continuance is necessary to provide the parties and their respective counsel

reasonable time necessary for effective preparation and to make efficient use of the parties’

resources.




2
  See also General Order No. 37, which went into effect on June 19, 2022, vacated General Order No. 35, and
extended the Court’s authorization to conduct certain criminal proceedings via video or telephone conference
pursuant to the CARES Act “[b]ecause the emergency created by the COVID-19 outbreak continues to materially
affect the functioning of court operations in the District of Minnesota.” In re: Updated Guidance to Court
Operations Under the Exigent Circumstances Created by COVID-19, Gen. Order No. 37 (D. Minn. June 17, 2022).

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        CASE 0:22-cr-00159-WMW-TNL Doc. 22 Filed 08/25/22 Page 3 of 5




       Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

       1.     The parties’ Joint Motion for an Extension of Time to File Motions, ECF No.

19, is GRANTED.

       2.     Defendant’s Motion to Exclude Time Under Speedy Trial Act, ECF No. 20,

is GRANTED.

       3.     The period of time from August 17 through September 28, 2022, shall be

excluded from Speedy Trial Act computations in this case.

       4.     All motions in the above-entitled case shall be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before September 1, 2022.

D. Minn. LR 12.1(c)(1). Two courtesy copies of all motions and responses shall be

delivered directly to the chambers of Magistrate Judge Leung.

       5.     Should Defendant file pretrial motions, counsel shall also file a letter on

or before September 1, 2022, indicating whether Defendant consents to a motions

hearing by videoconference. See also ECF No. 16.

       6.     Counsel shall electronically file a letter on or before September 1, 2022, if

no motions will be filed and there is no need for hearing.

       7.     All responses to motions shall be filed by September 15, 2022. D. Minn. LR

12.1(c)(2).

       8.     Any Notice of Intent to Call Witnesses shall be filed by September 15, 2022.

D. Minn. LR 12.1(c)(3)(A).



                                             3
       CASE 0:22-cr-00159-WMW-TNL Doc. 22 Filed 08/25/22 Page 4 of 5




      9.     Any Responsive Notice of Intent to Call Witnesses shall be filed by

September 21, 2022. D. Minn. LR 12.1(c)(3)(B).

      10.    A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

             a.     The government makes timely disclosures and a defendant pleads
                    particularized matters for which an evidentiary hearing is necessary;
                    or

             b.     Oral argument is requested by either party in its motion, objection or
                    response pleadings.

      11.    Except as otherwise set forth herein, the motions hearing, if required, shall

take place before the undersigned on September 28, 2022, at 11:00 a.m., in Courtroom

9W, Diana E. Murphy U.S. Courthouse, 300 South Fourth Street, Minneapolis, Minnesota.

D. Minn. LR 12.1(d).

      12.    The arraignment, ECF No. 15 at 1, is likewise CONTINUED and shall take

place before the undersigned on September 28, 2022, at 11:00 a.m., in Courtroom 9W,

Diana E. Murphy U.S. Courthouse, 300 South Fourth Street, Minneapolis, Minnesota.

      13.    TRIAL:

             a.     IF NO PRETRIAL MOTIONS ARE FILED BY A
                    DEFENDANT, the following trial and trial-related dates are:

                    All motions in limine and proposed voir dire and jury instructions are
                    due in District Judge Wilhelmina Wright’s chambers at least 21 days
                    before trial begins. Counsel are advised that a pretrial notice will issue
                    that will include additional deadlines.

                    Judge Wright will hold a pretrial conference on October 6, 2022, at
                    9:00 a.m. in Courtroom 7A, U.S. Courthouse, 316 North Robert
                    Street, ST. PAUL, Minnesota.


                                             4
       CASE 0:22-cr-00159-WMW-TNL Doc. 22 Filed 08/25/22 Page 5 of 5




                    This case must commence trial on October 12, 2022, at 8:30 a.m.
                    before Judge Wright in Courtroom 7A, Warren E. Burger Federal
                    Building and U.S. Courthouse, 316 North Robert Street, ST. PAUL,
                    Minnesota.

            b.      IF PRETRIAL MOTIONS ARE FILED, the trial date, and other
                    related dates, will be rescheduled following the ruling on pretrial
                    motions. Counsel must contact the Courtroom Deputy for Judge
                    Wright to confirm the new trial date.



Dated: August    24 , 2022                           s/ Tony N. Leung
                                              TONY N. LEUNG
                                              United States Magistrate Judge
                                              District of Minnesota


                                              United States v. Black
                                              Case No. 22-cr-159 (WMW/TNL)




                                          5
